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 7                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                     AT TACOMA

 9   RUSSELL D. GARRETT, Chapter 7 Trustee
     for the bankruptcy estate of Robert and              Case No. 3:18-cv-5863
10   Stephanie Taylor,
                                                          (Clark County Superior Court Case No.
11                          Plaintiffs,                   18-2-05536-2)

12          v.                                            NOTICE OF UNAVAILABILITY
     MORGAN HENNING a/k/a MORGAN
13
     ROTHSCHILD and HAYLEY HENNING; and
     FRANNET GLOBAL, LLC,
14
                            Defendants.
15

16   TO: CLERK OF THE COURT,

17   AND TO: ALL COUNSEL OF RECORD.

18   PLEASE TAKE NOTICE that Anthony R. Sterling, counsel for Defendant Morgan Rothschild,

19   will be unavailable during the dates of September 16 through October 2, 2019, inclusive.

20   Respectfully, please coordinate with other attorneys of record for any hearings, discovery or

21   other matters requiring any response or attention by this office during this time period.

22   //

23   //
      NOTICE OF UNAVAILABILITY                                            BAKER & HOSTETLER LLP
                                                                           999 Third Avenue, Suite 3600
                                                                             Seattle, WA 98104-4040
                                                                            Telephone: (206) 332-1380
           Case 3:18-cv-05863-BHS Document 48 Filed 08/29/19 Page 2 of 3



 1                                    Respectfully submitted,

 2                                    BAKER & HOSTETLER LLP

 3
                                      s/ Anthony R. Sterling
 4                                    Curt Roy Hineline, WSBA No. 16317
                                      Anthony R. Sterling, WSBA No. 53124
 5                                    999 Third Avenue, Suite 3600, Seattle, WA 98104
                                      Tel: (206) 332-1101 | Fax: (206) 624-7317
 6                                    chineline@bakerlaw.com | asterling@bakerlaw.com

 7                                    Attorneys for Morgan Rothschild

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     NOTICE OF UNAVAILABILITY - 2 -                             BAKER & HOSTETLER LLP
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                                                                  Seattle, WA 98104-4040
                                                                 Telephone: (206) 332-1380
              Case 3:18-cv-05863-BHS Document 48 Filed 08/29/19 Page 3 of 3



 1                                   CERTIFICATE OF SERVICE

 2          I declare that August 29, 2019, I caused a true copy of the foregoing Notice of

 3   Unavailability to be served on the following in the manners indicated:

 4   Phillip J. Haberthur, WSBA #38038                Via ECF
     Landerholm, P.S.                                  Via Hand Delivery
 5   805 Broadway Street, Suite 1000                   Via Facsimile
     P.O. Box 1086                                     Via U.S. Mail
 6   Vancouver, WA 98666-1086                          Via Overnight Delivery
     Tel: (360) 696-3312                               Via Email
 7   Email: philh@landerholm.com

 8   Attorneys for Plaintiffs Robert Sean
     Taylor and Stephanie Taylor
 9
     Russell D. Garrett                                Via ECF
10   Jordan Ramis, PC | Attorneys at Law               Via Hand Delivery
     1499 SE Tech Center Place, Suite 380              Via Facsimile
11   Vancouver, WA 98683                               Via U.S. Mail
     Tel: (360) 567-3900                               Via Overnight Delivery
12   Email: russ.garrett@jordanramis.com              Via Email
13   Chapter 7 Trustee Appointed to Plaintiffs
     Robert Sean Taylor and Stephanie Taylor’s
14   Bankruptcy Estate

15
                                                  s/ Andre Gougisha
16                                                Andre Gougisha
                                                  Assistant to Anthony Robert Sterling
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23
      NOTICE OF UNAVAILABILITY - 3 -                                      BAKER & HOSTETLER LLP
                                                                          999 Third Avenue, Suite 3600
                                                                            Seattle, WA 98104-4040
                                                                           Telephone: (206) 332-1380
